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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              BEAUMONT DIVISION

 TOMMIE D. SCHEXNAYDER                          §
                                                §     CIVIL ACTION NO. 1:24-cv-00282
 Plaintiff                                      §
                                                §
 VS.                                            §
                                                §
 MIKE’S ENTERPRISES, INC.                       §
                                                §
 Defendant                                      §

                                       COMPLAINT

 TO THE U.S. DISTRICT JUDGE:

         COMES NOW, Plaintiff TOMMIE D. SCHEXNAYDER and brings this cause

 of action against MIKE’S ENTERPRISES, INC. (“MIKE’S ENTERPRISES” or

 “Defendant”) MIKE’S ENTERPRISES, INC. owns, controls, manages, and rents the real

 estate, property, and improvements in Beaumont, Texas, where a business named

 MIKE’S FURNITURE operates. Mr. SCHEXNAYDER respectfully shows that the

 Defendant’s real estate, property, and improvements at the location are not accessible to

 individuals with mobility impairments and disabilities, in violation of federal law.

                                          I. CLAIM

         1.     Mr. SCHEXNAYDER, a person with a physical disability and mobility

 impairments, brings this action for declaratory and injunctive relief, attorney’s fees, costs,

 and litigation expenses against Defendant for violations of Title III of the Americans with

 Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

 Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

         2.     Defendant refused to provide Mr. SCHEXNAYDER and others similarly



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 situated with sufficient ADA-compliant parking in the parking lot that serves MIKE’S

 FURNITURE. At the Beaumont location, there are no ADA-compliant van-accessible

 spaces on the shortest access route to the business. In addition, there are no ADA-

 required handicapped parking signs.

         Based on these facts, Defendant has denied Mr. SCHEXNAYDER the ability to

 enjoy the goods, services, facilities, privileges, advantages, and accommodations at

 MIKE’S FURNITURE.

                             JURISDICTION AND VENUE

        3.      This Court has subject matter jurisdiction over this action pursuant to 28

 U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

 Act of 1990, 42 U.S.C. §12101, et seq.

        4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

 events complained of occurred in Beaumont, Texas, where the MIKE’S FURNITURE

 business is located.

                                          PARTIES

        5.      Plaintiff TOMMIE D. SCHEXNAYDER is a resident of Beaumont,

 Texas. Mr. SCHEXNAYDER has a disability, as established by the federal government

 and the Social Security Administration. Mr. SCHEXNAYDER has a disabled placard on

 his vehicle as issued by the State of Texas. Mr. SCHEXNAYDER has significant

 mobility impairments. He is a “qualified individual with a disability” within the meaning

 of ADA Title III.

        6.      Defendant MIKE’S ENTERPRISES, INC. owns, manages, controls, and

 leases the improvements and building where the MIKE’S FURNITURE business is


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 situated. The address of MIKE’S FURNITURE is 1625 College Street, Beaumont, Texas

 77701. The business is a place of public accommodation, operated by a private entity,

 whose operations affect commerce within the meaning of Title III of the ADA.

        7.     Defendant MIKE’S ENTERPRISES, INC. is the owner of the property.

 Defendant is a domestic corporation. Defendant can be served process via service to its

 Registered Agent, Mike Aref, at 3612 Terrace Drive, Nederland, Texas 77627, as

 indicated by records from the Texas Secretary of State.

                                        II. FACTS

        8.     MIKE’S FURNITURE is a business establishment and place of public

 accommodation in Beaumont, Texas. MIKE’S FURNITURE is situated on real estate,

 property, and improvements owned, controlled, managed, and leased out by MIKE’S

 ENTERPRISES, INC.

        9.     MIKE’S FURNITURE is not accessible to disabled individuals because it

 has no ADA-compliant van-accessible spaces on the shortest access route to the business.

 At the Beaumont location, there are none whatsoever on the premises. In addition, there

 are no ADA-required handicapped parking signs.

        10.    Pictures taken at the location prove this:




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 MIKE’S FURNITURE business in Beaumont, Texas. There is no ADA-compliant van-
 accessible space (96” wide with 96” side access aisle) near the business entrance on the
 shortest possible access route. In addition, there are no ADA-required handicapped
 parking signs.




 MIKE’S FURNITURE business in Beaumont, Texas. There is no ADA-compliant van-
 accessible space (96” wide with 96” side access aisle) near the business entrance on the
 shortest possible access route. In addition, there are no ADA-required handicapped
 parking signs.


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 MIKE’S FURNITURE business in Beaumont, Texas. There is no ADA-compliant van-
 accessible space (96” wide with 96” side access aisle) near the business entrance on the
 shortest possible access route. In addition, there are no ADA-required handicapped
 parking signs.




 MIKE’S FURNITURE business in Beaumont, Texas. There is no ADA-compliant van-
 accessible space (96” wide with 96” side access aisle) near the business entrance on the
 shortest possible access route. In addition, there are no ADA-required handicapped
 parking signs.


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        11.     The Plaintiff went to the MIKE’S FURNITURE property in July of 2024.

        12.     In encountering and dealing with the lack of an accessible facility, the

 Plaintiff experienced difficulty and discomfort. These violations denied Plaintiff the full

 and equal access to facilities, privileges and accommodations offered by the Defendant.

 Plaintiff intends to return to MIKE’S FURNITURE. By not having an ADA-compliant

 parking area, the Plaintiff’s life is negatively affected because he is not able to safely

 access the location without fear of being struck by a vehicle. This causes the Plaintiff

 depression, discomfort, and emotional stress and the Plaintiff is prevented from resuming

 a normal lifestyle and enjoying access to businesses in his area.

        13.     Additionally, on information and belief, the Plaintiff alleges that the

 failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

 and obvious; (2) the Defendant exercised control and dominion over the conditions at this

 location and, therefore, the lack of accessible facilities was not an “accident” because

 Defendant intended this configuration; (3) Defendant has the means and ability to make

 the change; and (4) the changes to bring the property into compliance are “readily

 achievable.”

        14.     At the Beaumont location, there are no ADA-compliant van-accessible

 spaces on the shortest access route to the business. In addition, there are no ADA-

 required handicapped parking signs, thus deterring disabled patrons from accessing the

 business.

        15.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

 federal law for over 30 years. These are blatant violations of the ADA.




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           III. CAUSE OF ACTION - VIOLATION OF THE AMERICANS
                WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101

         16.     Plaintiff repleads and incorporates by reference, as if fully set forth at

 length herein, the allegations contained in all prior paragraphs of this complaint.

         17.     Under the ADA, it is an act of discrimination to fail to ensure that the

 privileges, advantages, accommodations, facilities, goods and services of any place of

 public accommodation are offered on a full and equal basis by anyone who owns, leases,

 or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

 is defined, inter alia, as follows:

                 a.      A failure to make reasonable modifications in policies, practices,

         or procedures, when such modifications are necessary to afford goods, services,

         facilities, privileges, advantages, or accommodations to individuals with

         disabilities, unless the accommodation would work a fundamental alteration of

         those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

                 b.      A failure to remove architectural barriers where such removal is

         readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

         reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”

                 c.      A failure to make alterations in such a manner that, to the

         maximum extent feasible, the altered portions of the facility are readily accessible

         to and usable by individuals with disabilities, including individuals who use

         wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

         the altered area and the bathrooms, telephones, and drinking fountains serving the

         altered area, are readily accessible to and usable by individuals with disabilities.



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        42 U.S.C. § 12183(a)(2).

        18.     Here, the Defendant did not provide a sufficient number of ADA-

 compliant van-accessible parking spaces in its parking lot, although doing so is easily and

 readily done, and therefore violated the ADA.

                                    IV. RELIEF REQUESTED

 Injunctive Relief

        19.     Mr. SCHEXNAYDER will continue to experience unlawful

 discrimination as a result of the Defendant’s refusal to comply with the ADA. Injunctive

 relief is necessary so he and all individuals with disabilities can access the Defendant’s

 property equally, as required by law, and to compel Defendant to repave and restripe the

 parking lot to comply with the ADA. Injunctive relief is also necessary to compel

 Defendant to keep the property in compliance with federal law.

 Declaratory Relief

        20.     Mr. SCHEXNAYDER is entitled to declaratory judgment concerning

 Defendant’s violations of law, specifying the rights of individuals with disabilities to

 access the goods and services at the Defendant’s location.

        21.     The facts are undisputed and Defendant’s non-compliance with the ADA

 has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

 violations by the Defendant.

 Attorney’s Fees and Costs

        22.     Plaintiff is entitled to reasonable attorney’s fees, litigation costs, and court

 costs, pursuant to 42 U.S.C. §12205.




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                                 V. PLAINTIFF HAS STANDING

         23.     The United States Court of Appeals for the Fifth Circuit is clear with

 regard to ADA standing and set forth its reasoning in Frame v. Arlington, 657 F.3d 215

 (5th Cir. 2011)(cert. denied): “Article III standing requires a plaintiff seeking injunctive

 relief to allege ‘actual or imminent’ and not merely ‘conjectural or hypothetical’ injury.”

         24.     In this manner, the Fifth Circuit ruled in Frame that for a person to have

 standing and bring an ADA claim, the person must allege the inability to access the

 goods, facilities, and services that the defendant offers. As applied to the instant case, the

 Plaintiff alleges that he is unable to fully access the goods, facilities, and services at the

 Defendant’s property because the property is not accessible and is not ADA-compliant.

 The Plaintiff lives in Jefferson County, has visited the Defendant’s property, has the

 intent to return, but was ‘deterred from visiting or patronizing the accommodation,’ thus

 meeting the requirements for standing in Frame.

         25.     Again, the Fifth Circuit emphasizes how standing is met by ADA

 claimants: “Once a plaintiff has actually become aware of discriminatory conditions

 existing at a public accommodation, the plaintiff has suffered an injury.” See Frame v.

 Arlington, 657 F.3d 215 (5th Cir. 2011)(cert. denied), quoting Pickern v. Holiday Foods

 Inc., 293 F.3d 1133, 1136-37 (9th Cir. 2002). Thereby, Plaintiff meets the Fifth Circuit

 standard under Frame to allege and plead a sufficient cause of action.

         26.     Plaintiff also alleges that his day-to-day life has been negatively impacted

 by the Defendant’s refusal to bring the property into ADA compliance. Thus, Plaintiff

 meets the second prong of the Fifth Circuit’s requirement for standing in ADA cases: a)

 intent to return; and b) negative impact on day-to-day life. See Frame v. Arlington, supra.



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          27.     The parking layout at Defendant’s location creates a hazardous condition

  because: 1) there are no van-accessible spaces and a customer cannot safely exit their

  vehicle and remove their mobility aids (cane, walker or wheelchair); 2) there are no

  disabled / handicapped spaces whatsoever, thus forcing disabled customers to park far

  from the store entrance; and 3) lack of markings / proper signage which allows vehicles

  to park everywhere, thus creating the likelihood that the Plaintiff could be injured by

  another vehicle as Plaintiff is offloading mobility assistance devices (cane, walker,

  wheelchair, etc.) These conditions make it appear that Plaintiff is unwelcome at

  Defendant’s property. Thus, the Plaintiff is deterred from accessing MIKE’S

  FURNITURE and meets the pleading standard under Frame to show standing and seek

  injunctive relief.

          28.     Intent to Return. Plaintiff has the intent to return to MIKE’S

  FURNITURE. The Plaintiff is a resident of Beaumont, Texas, and shops locally. The

  Plaintiff believes it is beneficial to shop locally to save money and provide for the well-

  being of his family. Not having access to local businesses (because of his disability)

  negatively impacts the Plaintiff’s daily life. Not being able to patronize local shops and

  stores negatively impacts Plaintiff in his day-to-day life.

                                VI. PRAYER FOR RELIEF

          THEREFORE, Mr. SCHEXNAYDER respectfully requests this Court award the

  following relief:

          A.      A permanent injunction, compelling Defendant to comply with the

  Americans with Disabilities Act; and enjoining Defendant from violating the ADA and

  from discriminating against Mr. SCHEXNAYDER and those similarly situated, in



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  violation of the law;

          B.     A declaratory judgment that Defendant’s actions are a violation of the

  ADA;

          C.     Find that Mr. SCHEXNAYDER is the prevailing party in this action, and

  order Defendant liable for Plaintiff’s attorney’s fees, costs, and litigation expenses; and,

          D.     Grant such other and additional relief to which Plaintiff may be entitled in

  this action.


  DATED: July 15, 2024                           Respectfully submitted,

                                         BY:        /S/ R. Bruce Tharpe________
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